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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH DAKOTA
                                  WESTERN DIVISION

UNITED STATES OF AMERICA,                    )           CR. 10-50118-JLV
                                             )
           Plaintiff,                        )
                                             )           ORDER GRANTING
   vs.                                       )            CONTINUANCE
                                             )
LUIS OLIVARES,                               )
TRAVIS BRANDIS,                              )
PRECIOUS BARTLETT,                           )
ETHEL THUNDERHAWK,                           )
DEB DILLON,                                  )
MICHAEL DILLON,                              )
CLAUDETTE LONG SOLDIER,                      )
DEREK PETERS,                                )
ROBERT GAY,                                  )
GERALD LONG SOLDIER, and                     )
COURTNEY KROGMAN,                            )
                                             )
           Defendants.                       )

         Trial in the above-captioned case currently is scheduled to begin on May 31,

2011. (Docket 219). Defendant Ethel Thunder Hawk moves the court to continue

all the deadlines set in the case. (Docket 236). Defendants Travis Brandis,

Courtney Krogman, and Michael Dillon filed objections to the motion, arguing for

severance of the trial. (Dockets 239, 245, & 247). Defendant Deb Dillon

informally objects to the motion, but did not file a written objection.

         The court finds severance is not appropriate at this juncture in the case.

The court notes there is a clear preference for a joint trial of persons charged in a

conspiracy. United States v. Ruiz, 446 F.3d 762, 772 (8th Cir. 2006); see also

United States v. Kime, 99 F.3d 870, 880 (8th Cir. 1996) (“Persons charged with a

conspiracy will generally be tried together, especially where proof of the charges

against each of the defendants is based on the same evidence and acts. Rarely, if

ever, will it be improper for co-conspirators to be tried together.”) (citations and

internal quotation marks omitted). This clear preference for joinder, applicable

here, may be overcome if the party moving to sever “can show that the benefits [of

joinder] are outweighed by a clear likelihood of prejudice.” United States v. Clay,
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579 F.3d 919, 927 (8th Cir. 2009) (citation and internal quotation marks omitted);

see also United States v. Pherigo, 327 F.3d 690, 693 (8th Cir. 2003) (In “ruling on

a motion for severance, a court must weigh the inconvenience and expense of

separate trials against the prejudice resulting from a joint trial of co-defendants.

To grant a motion for severance, the necessary prejudice must be severe or

compelling.”) (citations and internal quotation marks omitted).

      Mr. Brandis, Mr. Krogman, Mr. Dillon, and Ms. Dillon have not shown how

they will be prejudiced by joinder. They have not alleged, for example, that

continued joinder will violate their statutory or constitutional right to a speedy

trial, nor have they furnished any other compelling justification to warrant

severance. The court finds the inconvenience and expense of separate trials

clearly outweigh any prejudice to defendants in joinder. Because Mr. Brandis, Mr.

Krogman, Mr. Dillon, and Ms. Dillon have not made the requisite showing to

overcome the preference for joinder, their objections to Ms. Thunder Hawk’s

motion for a continuance are overruled. The court finds the ends of justice served

by continuing the trial outweigh the best interests of the public and the

defendants in a speedy trial insofar as counsel for Ms. Thunder Hawk has made

known she needs additional time to review voluminous discovery. 18 U.S.C.

§ 3161(h)(7)(A). Good cause appearing, it is hereby

      ORDERED that Ms. Thunder Hawk’s motion for a continuance (Docket 236)

is granted and the following deadlines shall apply to all parties:

        Suppression/voluntariness            June 14, 2011
        motions
        Responses to motions due             Within seven days after motion
                                             is filed
        Subpoenas for suppression            June 14, 2011
        hearing
        Suppression/voluntariness            If necessary, shall be held
        hearing before Magistrate            before June 28, 2011
        Judge Veronica L. Duffy



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       Applications for Writ of             July 5, 2011
       Habeas Corpus Ad
       Testificandum
       Other motions                        July 12, 2011
       Responses to motions due             Within seven days after motion
                                            is filed
       Subpoenas for trial                  July 12, 2011
       Plea agreement or petition to        July 12, 2011
       plead and statement of
       factual basis
       Notify court of status of case       July 12, 2011

       Motions in limine                    July 19, 2011

       Proposed jury instructions           July 19, 2011
       due
       Pretrial conference                  Monday, July 25, 2011, at
                                            9 a.m.
       Jury trial                           Tuesday, July 26, 2011, at
                                            9 a.m.

      The period of delay resulting from this continuance is excluded in
computing the time within which the trial of the case must commence.
18 U.S.C. § 3161(h)(7)(A).
      Defense counsel must file with the clerk within fourteen (14) days of this
order a written consent to the continuance and waiver of the Speedy Trial Act
signed by each non-objecting defendant.
      All other provisions of the court's scheduling and case management order
(Docket 219) remain in effect unless specifically changed herein.
      Dated April 28, 2011.

                                  BY THE COURT:
                                  /s/ Jeffrey L. Viken
                                  JEFFREY L. VIKEN
                                  UNITED STATES DISTRICT JUDGE




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